         Case 1:24-cv-02646-JMF         Document 165         Filed 03/14/25       Page 1 of 3




March 14, 2025

VIA ECF

Hon. Jesse M. Furman
United States District Court
40 Centre Street, Room 2202
New York, NY 10007

         Re:   ChemImage Corp. v. Johnson & Johnson et al., No. 1:24-CV-2646 (JMF)
               Joint Letter to the Court Regarding Witness Lineup

Dear Judge Furman:

        Pursuant to the Court’s instruction at the March 13, 2025 Pre-Trial Conference, Plaintiff
ChemImage Corporation and Defendants Johnson & Johnson and Ethicon, Inc. (the “Parties”)
jointly submit this letter to identify for the Court the order of witnesses that the parties currently
intend to present at trial:

Plaintiff’s Witnesses:

    1.   Dr. Patrick Treado
    2.   Dr. Adam Saltman
    3.   Dr. Daniel Sodickson
    4.   Dr. Jeffrey Cohen
    5.   Mr. David Plastino
    6.   Ms. Tamara Lanier1

Defendants’ Witnesses:

    1.   Ms. Tamara Lanier
    2.   Dr. Kevin Lewis
    3.   Mr. James Donohue
    4.   Dr. Steen Hansen


1
  Ms. Lanier submitted an affidavit on behalf of Defendants, and is listed on all parties’ witness
lists in the Joint Pretrial Order, Dkt. No. 164. Consistent with the Court’s Individual Rules and
Practices for Hearings and Trials ¶ H.4 and the Court’s direction that a witness listed by both sides
“will be called only once by essentially the sponsoring party; that is, the party that submitted the
affidavit,” March 13, 2025 Hrg. Tr. 12:23-13:2, the parties intend to call Ms. Lanier after Plaintiff’s
witnesses who submitted affidavits have testified and at the beginning of Defendants’ case in chief.
The parties agree that Defendants will first have the opportunity to conduct a 15-20 minute direct
examination of Ms. Lanier and to offer her affidavit and exhibits thereto into evidence, that
Plaintiff will have the opportunity to cross Ms. Lanier without scope limitations, and that
Defendants will then have the opportunity to conduct a redirect examination of Ms. Lanier.
         Case 1:24-cv-02646-JMF         Document 165        Filed 03/14/25      Page 2 of 3

Honorable Jesse M. Furman
March 14, 2025

    5.   Mr. Rocco De Bernardis
    6.   Mr. Joseph Corrigan2
    7.   Dr. Blake Hannaford
    8.   Dr. Ricardo Estape

       Defendants’ witness order may change slightly based on the pace of trial to accommodate
witness scheduling. In particular, in the event that Mr. Donohue does not take the stand on
Wednesday, March 19, he will testify after Dr. Estape at the close of Defendants’ case. And in
the event that Mr. Donohue completes his testimony before the end of the day on Wednesday,
March 19, Dr. Hannaford will take the stand at that point.

                                                 ***

         The Parties thank the Court for its time and consideration of these matters.




2
  Consistent with the Parties’ and the Court’s comments at the March 13, 2025 Pre-Trial
Conference, Plaintiff’s case in chief will not close until after its examination of Mr. Corrigan.
Further, Plaintiff will not be limited on the scope of its examination by the substance of
Defendants’ examination nor by the affidavit of Mr. Corrigan.
                                                  2
       Case 1:24-cv-02646-JMF          Document 165    Filed 03/14/25    Page 3 of 3

Honorable Jesse M. Furman
March 14, 2025

Respectfully submitted,


QUINN EMANUEL URQUHART &                      PATTERSON BELKNAP WEBB &
SULLIVAN, LLP                                 TYLER LLP

/s/ Courtney C. Whang                         /s/ Rachel B. Sherman

Alex Spiro                                    William F. Cavanaugh, Jr.
Andrew J. Rossman                             Rachel B. Sherman
Courtney C. Whang                             Christopher Wilds
Ron Hagiz                                     1133 Avenue of the Americas
295 Fifth Avenue                              New York, New York 10036
New York, New York 10016                      Telephone: (212) 336-2000
Telephone: (212) 849-7000                     Fax: (212) 336-2222
Fax: (212) 849-7100                           wfcavanaugh@pbwt.com
alexspiro@quinnemanuel.com                    rsherman@pbwt.com
andrewrossman@quinnemanuel.com                cwilds@pbwt.com
courtneywhang@quinnemanuel.com
ronhagiz@quinnemanuel.com                     LINKLATERS LLP
                                              Diana M. Conner
                                              1290 Avenue of the Americas
James Bieber (admitted pro hac vice)          New York, New York 10104
865 S Figueroa Street, 10th Floor             Tel: (212) 903-9315
Los Angeles, California 90017                 diana.conner@linklaters.com
Telephone: (213) 443 3000
Fax: (213) 443-3100                           Attorneys for Defendants
jimmybieber@quinnemanuel.com

Attorneys for Plaintiff




                                             3
